
IN RE: Guillory, Telly; — Plaintiff(s); Applying for Supervisory and/or Remedial Writs; Parish of St. Landry 27th Judicial District Court Div. “B” Number 93K1226C; to the Court of Appeal, Third Circuit, Number KW98-0396, KW98-0485
Writ granted; case remanded to the district court. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to prosecute it. See State v. Counterman, 475 So.2d 336, 340 (La. 1985) (out-of-time appeal may be appropriate in cases in which either “the defendant was not substantially notified at sentencing of his right to appeal or those in which the defense attorney was at fault in failing to file or perfect a timely appeal.”) (emphasis added).
TRAYLOR, J. not on panel.
